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John E. Mitchell, SBT # 00797095
Rosa A. Shirley, SBT # 24056313
BAKER & McKENZIE LLP
Trammell Crow Center
2001 Ross Avenue, Suite 2300
Dallas, Texas 75201
Tel: (214) 978-3000
Fax: (214) 978-3099
Email: john.mitchell@bakermckenzie.com
rosa.shirley@bakermckenzie.com

ATTORNEYS FOR THE DEBTORS


                               UNITED STATED BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                            §
    IN RE:                                                  §        CASE NO. 14-30699-11
                                                            §
    BUFFET PARTNERS, L.P., et al.,                          §        CHAPTER 11
                                                            §
             DEBTORS. 1                                     §        (Jointly Administered)
                                                            §

           NOTICE OF FILING OF STALKING HORSE PURCHASE AGREEMENT

           PLEASE TAKE NOTICE THAT pursuant to the Order (i) Approving the Procedures

for (a) the Sale of Substantially All Assets (b) the Assumption and Assignment of Certain

Executory Contracts and Unexpired Leases (c) the Establishment of Cure Amounts, (ii)

Approving Form of Notice and (iii) Setting a Hearing Date for the Approval of the Sale [Dkt.

No. 216] (the “Sale Procedures Order”), attached hereto is the fully executed Purchase

Agreement with the Stalking Horse, with all Schedules thereto.




1
    The Debtors in these chapter 11 cases are Buffet Partners, L.P. and Buffet G.P., Inc.


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Dated: March 28, 2014                Respectfully submitted,

                                     BAKER & McKENZIE LLP
                                     Trammell Crow Center
                                     2001 Ross Avenue, Suite 2300
                                     Dallas, Texas 75201
                                     Tel: (214) 978-3000
                                     Fax: (214) 978-3099
                                     Emails: john.mitchell@bakermckenzie.com
                                              rosa.shirley@bakermckenzie.com

                                     By: /s/ John E. Mitchell
                                         John E. Mitchell, SBT # 00797095
                                         Rosa A. Shirley, SBT #24056313

                                     ATTORNEYS FOR THE DEBTORS




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